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MINUTE ENTRY
MORGAN, J.
August 17, 2023




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

    FREE SPEECH COALITION, INC., ET AL.,                         CIVIL ACTION
                       Plaintiffs

    VERSUS                                                       NO. 23-2123

    JAMES M. LEBLANC, ET AL.,                                    SECTION: “E” (2)
                       Defendants


                                    MINUTE ENTRY
        A telephone status conference was held on August 17, 2023, at 10:00 a.m., in the

chambers of Judge Susie Morgan.

        Present:             Jeffery Sandman, counsel for Plaintiffs, Free Speech
                             Coalition, Inc., Deep Connection Technologies, Inc.,
                             Charyn Pfeuffer, Elizabeth Hanson, and JFF
                             Publications, LLC; Shae McPhee and Jordan Redmon,
                             counsel for Defendants, James M. LeBlanc, Jay
                             Dardenne, and Jeffrey Landry.

        The parties discussed the status of the case.

        IT IS ORDERED that Defendants’ Motion to Clarify 1 is GRANTED. The

responsive pleading deadline for all Defendants is continued until 14 days after the Court

rules on Defendants’ forthcoming amended Motion to Dismiss.




1 R. Doc. 27.




                                              1
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        IT IS FURTHER ORDERED that Plaintiffs are given leave to file an amended

and restated Complaint on or before Monday, August 28, 2023. 2 If such a

Complaint is filed, Defendants have 10 days from its filing to file any amended Motion

to Dismiss. Plaintiffs have 7 days from the filing of any amended Motion to Dismiss to

file a response in opposition. Defendants will have 3 days from the filing of any response

to file a reply. The Court will hold oral argument on any amended Motion to Dismiss on

Wednesday, September 20, 2023, at 3:00 p.m. Defendants will have 20 minutes

to argue their motion, and Plaintiffs will have 20 minutes to respond.

        IT IS FURTHER ORDERED that an in-person status conference is set for

Tuesday, September 5, 2023, at 9:00 a.m. At that time, if D. Gill Sperlein is enrolled

as counsel for Plaintiffs, he may participate by telephone. Instructions to join by

telephone will be provided by email.

        New Orleans, Louisiana, this 18th day of August, 2023.


                                                  ______________________ _________
                                                           SUSIE MORGAN
                                                    UNITED STATES DISTRICT JUDGE




   JS10 (1:18)




2 Any amended and restated Complaint Plaintiffs file must clearly articulate the declaratory and injunctive

relief Plaintiffs seek respect to Defendants, and it should accurately state the causes of action Plaintiffs
assert. Plaintiffs must fully restate all allegations and prayers for relief in their amended and restated
Complaint. The Court will not accept any amended and restated Complaint that merely adopts all or part of
the original Complaint by reference.


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